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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN


HERMAN MILLER, INC.,
a Michigan corporation,
                                                 CASE NO.
       Plaintiff,
                                                 HON.
v.
GOLD LEAF HOLDING LTD.,
d/b/a ROVE CONCEPTS,
a Canadian corporation,

       Defendant.


                                        COMPLAINT

       Plaintiff Herman Miller, Inc. states for its complaint against Defendant Gold Leaf

Holding Ltd., d/b/a Rove Concepts ("Rove Concepts"), as follows:

                                           PARTIES

       1.      Plaintiff Herman Miller, Inc. ("Herman Miller") is a corporation organized and

existing under the laws of the State of Michigan having a principal place of business at 855 East

Main Avenue, Zeeland, Michigan 49464.

       2.      Defendant Gold Leaf Holding Ltd., d/b/a Rove Concepts, is a corporation

organized and existing under the laws of British Columbia, Canada, having a principal place of

business at 990 West 7th Avenue, Vancouver, British Columbia, Canada.

                               JURISDICTION AND VENUE

       3.      This is an action for trademark infringement under 15 U.S.C. § 1114(1); for use

of false designations of origin under 15 U.S.C. § 1125(a); for dilution under 15 U.S.C.

§ 1125(c); for violation of the Michigan Consumer Protection Act, MCL § 445.903; and for

infringement and unfair competition under Michigan common law.
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        4.       This Court has subject matter jurisdiction over the claims pursuant to 15 U.S.C.

§ 1121(a) and 28 U.S.C. §§ 1331 and 1338(a) and (b), and supplemental jurisdiction over the

claims arising under the statutory and common law of the State of Michigan pursuant to 28

U.S.C. § 1367(a) because the state law claims are so related to the federal claims that they form

part of the same case or controversy. In addition, this court has subject matter jurisdiction

pursuant to 28 U.S.C. § 1332(a), as the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between citizens of a States and citizens of a

foreign state.

        5.       This Court has personal jurisdiction over Rove Concepts because Rove Concepts

conducts substantial business in this forum and because this action arises, in whole or in part,

from Rove Concepts' transaction of business within the State of Michigan and its commission of

tortious acts within the State of Michigan. Plaintiff has been harmed and continues to suffer

harm in the State of Michigan from Defendant's acts.

        6.       Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and/or 28

U.S.C. § 1400(a). On information and belief, Rove Concepts has transacted business in this

district, and a substantial part of the events giving rise to the claims occurred in this district.

                 HERMAN MILLER'S TRADEMARKS AND TRADE DRESS

Herman Miller and Charles and Ray Eames

        7.       For nearly ninety (90) years, Herman Miller has been a leader in the highly

competitive business of designing, manufacturing, distributing, and selling high-quality, design-

oriented furniture.

        8.       Herman Miller® is renowned for its contemporary furniture designs and its

furniture designs have been deemed works of art.



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         9.    Herman Miller is a registered trademark in a number of international trademark

classes, including, but not limited to, for furniture. Exhibit 1.

         10.   For decades, Herman Miller has developed close working relationships with

preeminent contemporary furniture designers, one of the most notable of whom was Charles

Eames.

         11.   The creative genius of Charles Eames manifested itself in many ways, including

photography, film making, architecture, and, most significantly, furniture design.

         12.   Charles Eames and his wife, Ray Eames, became world-famous furniture

designers and designed many of the items that comprise Herman Miller's furniture line.   Charles

and Ray Eames became celebrities. Authors have written dozens of books about them. The

United States Library of Congress organized a travelling exhibit of the Eames' works in 1999.

         13.   Herman Miller has used the "Eames" name, as well as the name "Charles Eames"

and the name "Ray Eames," and has created an intentional association with these names as used

in connection with its furniture, since at least 1951. Examples include the EAMES® Chaise, the

EAMES® Desk and Storage Unit (since the 1950s), the EAMES® Elliptical Table, EAMES®

Executive Chairs, and the EAMES® Molded Plywood Chairs, among others, including those

described below. These and other furniture designs have received numerous design awards.

         14.   On January 26, 1982, the United States Patent and Trademark Office formally

memorialized the association between the EAMES name and Herman Miller when it issued to

Herman Miller US Trademark Registration No. 1187673, for the EAMES® trademark. The

registration provides Herman Miller with the exclusive right to use the EAMES® designation in

connection with furniture. Exhibit 2.

         15.   Herman Miller is also the owner of the rights of publicity to the name and

likeness of Charles Eames for use in connection with furniture. Exhibit 3.
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       16.       Herman Miller has an industry-wide reputation for manufacturing and marketing

the highest-quality contemporary furniture products, including being the exclusive source for

EAMES® chairs and furniture.

       17.       In 1956, Charles and Ray Eames designed the legendary EAMES® Lounge Chair

and Ottoman, which is depicted below:




See Exhibit 4.

       18.       Since then, the New York Museum of Modern Art has made the EAMES®

Lounge Chair and Ottoman part of its permanent collection. In addition, the famous EAMES®

Lounge Chair and Ottoman has appeared on numerous television programs, such as NBC's

"Today" show and Paramount Picture's "Frasier." In June 2002, Fast Company named the

EAMES® Lounge Chair and Ottoman as one of the fifteen (15) best-designed consumer

products of the 20th century, along with Ford's Model T and the Swiss Army Knife.

       19.       Since 1956, Herman Miller has extensively advertised he EAMES® Lounge

Chair and Ottoman and has sold more than 100,000 of them, always associating Herman Miller

as the source of the chair and ottoman.

       20.       The distinctive design of the EAMES® Lounge Chair and Ottoman serves to

identify Herman Miller as its source and is Herman Miller's trade dress and trademark.
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       21.       The famous EAMES® Lounge Chair and Ottoman is the subject of protection of

United States Trademark Registration No. 2,716,843, legally issued to Herman Miller by the

United States Patent and Trademark Office. The registration provides Herman Miller with the

exclusive right to use the design of the EAMES® Lounge Chair in connection with furniture.

See Exhibit 5.

       22.       The trade dress of the EAMES® Lounge Chair is unique, distinctive, and non-

functional, and it is not necessary for others to use this trade dress to compete in the marketplace.

The unique and distinctive look of the trade dress of the EAMES® Lounge Chair identifies and

distinguishes it from competitors' chairs. The EAMES® Lounge Chair trade dress registration is

incontestable.

The EAMES® Aluminum Group and EAMES ® Soft Pad Trade Dress

       23.       Charles and Ray Eames designed the EAMES® Aluminum Group chairs, and

Herman Miller began producing them in 1958. Herman Miller has continuously produced the

chairs since then. An example of the EAMES® Aluminum Group chairs is depicted below:




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       24.     In 1969, Charles and Ray Eames added cushions to the EAMES® Aluminum

Group chairs, and Herman Miller has produced them ever since. These chairs are sold as the

EAMES® Soft Pad chairs. An example of the EAMES® Soft Pad chairs is depicted below:




       25.     Depictions of the EAMES® Aluminum Group™ and EAMES® Soft Pad trade

dresses are also attached hereto as Exhibit 6.

       26.     Since introducing the EAMES® Aluminum Group chairs in 1958, Herman Miller

has invested millions of dollars in promoting the full family of EAMES® Aluminum Group and

EAMES® Soft Pad chairs.

       27.     The trade dress of the EAMES® Aluminum Group and EAMES® Soft Pad chairs

is unique, distinctive, and non-functional, and it is not necessary for others to use this trade dress

to compete in the marketplace. The unique and distinctive look of the trade dress of the

EAMES® Aluminum Group and EAMES® Soft Pad chairs identifies and distinguishes the

EAMES® Aluminum Group and EAMES® Soft Pad chairs from competitors' chairs.

       28.     The consuming public and the commercial trade have come to recognize and

associate the trade dress of the EAMES® Aluminum Group and EAMES® Soft Pad chairs with

Herman Miller as a result of the extensive and continuous promotion and sales of the EAMES®


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Aluminum Group and EAMES® Soft Pad chairs over the past fifty years. As a result of these

efforts, the trade dress of the EAMES® Aluminum Group and EAMES® Soft Pad chairs has

acquired appreciable secondary meaning, and is indeed a famous design mark, which identifies

and distinguishes the EAMES® Aluminum Group and EAMES® Soft Pad chairs from chairs

offered by competitors.

       29.    The United States Patent and Trademark Office recognized Herman Miller's

exclusive, proprietary rights to at least some of the elements of the full family of EAMES®

Aluminum Group and EAMES® Soft Pad chairs on June 20, 2006 when it issued to Herman

Miller US TM Registration No. 3105591, covering the shape of the frame common to the

EAMES® Aluminum Group and EAMES® Soft Pad chairs, as depicted below:




       30.    US TM Registration No. 3105591 is now incontestable. The registration provides

Herman Miller with the exclusive right to use the design of the EAMES® Aluminum Group

chairs in connection with furniture.   A copy of the registration certificate is attached as

Exhibit 7.

       31.    As a result of such extensive and exclusive use and promotion of the trade dress

embodied in the EAMES® Aluminum Group chairs, the trade dress has developed appreciable

secondary meaning and fame as an indicator that Herman Miller is the source of goods.
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       32.     Herman Miller's trade dress for the EAMES® Aluminum Group chairs represents

highly valuable goodwill owned by Herman Miller.

                        ROVE CONCEPTS' UNLAWFUL CONDUCT

       33.     Rove Concepts sells chairs and other furniture online throughout the United States

and the world, including in the State of Michigan.

       34.     Among the products Rove Concepts sells, offers for sale, or has offered for sale or

sold in the past are the following:

               (a)     "Eames Lounge Chair"

               (b)     "Eames Molded Plastic Side Chair Wooden Dowel Base"

               (c)     "Eames Molded Plastic Armchair Wooden Dowel Base"

               (d)     "Eames Molded Plywood Dining Chair"

               (e)     "Eames Office Chair EA117"

               (f)     "Eames Office Chair EA217"

               Exhibit 8.

       35.     Rove Concepts' use of Herman Miller's trademarks and trade dress in connection

with the sale, offering for sale, distribution, and advertising of goods and/or services has been

intentional and with knowledge of the considerable reputation, goodwill, and fame associated

with and represented by Herman Miller's registered trademarks and trade dress.

       36.     Indeed, Rove Concepts' own promotional materials acknowledge that "these

furniture designs … have achieved an iconic status, easily recognizable by … furniture admirers

all around the world." See https://www.youtube.com/watch?v=s_Aj8XFZSCw#at=12> ("Rove

Concepts intro").

       37.     In short, Rove Concepts does not dispute that they are making "design

reproductions" of trademarked Eames designs. Indeed, Rove Concepts' express business model
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is to duplicate Herman Miller's designs as closely as possible. See Rove Concepts website,

https://www.roveconcepts.com/why-rove-concepts_232.html            (visited   August     3,    2016),

Exhibit 9.

       38.     Rove Concepts' said use is likely to cause confusion, mistake, or deception (initial

interest, point-of-sale, and/or post-sale) as to the source of origin, sponsorship, or approval of the

products offered for sale by Rove Concepts, in that purchasers or others are likely to believe

Rove Concepts' products are Herman Miller's products or the products of a company legitimately

connected with, approved by, or related to Herman Miller.

       39.     Rove Concepts' said use enables Rove Concepts, and invites and enables suppliers

and manufacturers to represent and deceptively advertise, merchandise, market, display, and

promote that the products offered for sale by Rove Concepts emanate from Herman Miller or

from a concern legitimately connected with or approved by Herman Miller and to substitute and

pass off the products offered for sale by Rove Concepts as Herman Miller's products.

       40.     Rove Concepts is also unlawfully using the HERMAN MILLER and EAMES

trademarks owned by Plaintiff in Rove Concepts' metadata and in promotion of Rove Concepts'

products for sale on its website.

       41.     On numerous occasions, Herman Miller has demanded that Rove Concepts cease

and desist its unlawful activities with regards to Herman Miller's intellectual property. See

Exhibits 10-12.

       42.     Rove Concepts has engaged in a number of delay tactics to avoid responding to

Herman Miller's demands, including switching law firms on at least three different occasions.

       43.     However, Rove Concepts has said on numerous occasions that it would remove

Herman Miller trademarked content from its website and social media materials. See

Exhibits 13-14.
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       44.     Although Rove Concepts has removed some Herman Miller trademarked content

from its website, it subsequently proceeded to place additional Herman Miller trademarked

content on its website and social media materials. When questioned about this, Rove Concepts

said that it had "launched a new website version only very recently" and that the new website

"incorrectly carried over content that was removed previously on the old website." Exhibit 15.

Rove Concepts continued to commit to removing Herman Miller trademarked content in both the

United States and Canada. Exhibit 16.

       45.     Despite its repeated representations that it would remove all Herman Miller

trademarked content from its website and social media materials, Rove Concepts continues to

unlawfully use Herman Miller trademarks and trade dress in connection with the sale, offering

for sale, distribution, and advertising of goods and/or services.

                                COUNT I
               TRADEMARK INFRINGEMENT UNDER 15 U.S.C. § 1114(1)

       46.     Plaintiff realleges and incorporates by reference the preceding paragraphs as

though fully set forth herein.

       47.     Rove Concepts' use in commerce of Plaintiff's trademarks and trade dress is likely

to cause confusion, to cause mistake, or to deceive.

       48.     The foregoing conduct of Rove Concepts constitutes trademark infringement in

violation of 15 U.S.C. § 1114(1).

       49.     Rove Concepts' conduct as aforesaid has caused great and irreparable injury to

Plaintiff, and unless such conduct is enjoined, it will continue and Plaintiff will continue to suffer

great and irreparable injury.

       50.     Plaintiff has no adequate remedy at law.




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                                 COUNT II
             FALSE DESIGNATIONS OF ORIGIN UNDER 15 U.S.C. § 1125(A)

       51.     Plaintiff realleges and incorporates by reference the preceding paragraphs as

though fully set forth herein.

       52.     Rove Concepts' use in commerce of Plaintiff's trademarks and trade dress is

likely to cause confusion, to cause mistake, or to deceive the relevant public that products

offered for sale by Rove Concepts are authorized by or are affiliated with Plaintiff.

       53.     The above-described acts of Rove Concepts constitute use of false designations of

origin and false and misleading descriptions or representations that are likely to cause confusion;

to cause mistake; or to mislead as to the affiliation, connection, or association of Rove Concepts

or its goods or services with Plaintiff and the products sold under the trademarks or trade dress of

Plaintiff in violation of 15 U.S.C. § 1125(a).

       54.     Rove Concepts' conduct as aforesaid has caused great and irreparable injury to

Plaintiff, and unless such conduct is enjoined, it will continue and Plaintiff will continue to suffer

great and irreparable injury.

       55.     Plaintiff has no adequate remedy at law.

                                     COUNT III
                           DILUTION UNDER 15 U.S.C. § 1125(C)

       56.     Plaintiff realleges and incorporates by reference the preceding paragraphs as

though fully set forth herein.

       57.     Rove Concepts' use in commerce of Plaintiff's trademarks and trade dress is likely

to create associations that will impair the distinctiveness of Plaintiff's trademarks and trade dress.

       58.     The aforesaid acts of Rove Concepts are likely to blur the distinctive quality of

Plaintiff's trademarks and trade dress in violation of 15 U.S.C. § 1125(c).



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        59.       Rove Concepts' conduct as aforesaid has caused great and irreparable injury to

Plaintiff, and unless such conduct is enjoined, it will continue and Plaintiff will continue to suffer

great and irreparable injury.

        60.       Plaintiff has no adequate remedy at law.

                                 COUNT IV
              VIOLATION OF MICHIGAN CONSUMER PROTECTION ACT

        61.       Plaintiff realleges and incorporates by reference the preceding paragraphs as

though fully set forth herein.

        62.       The State of Michigan has an important interest in ensuring that persons and

entities doing business with Michigan residents fully comply with Michigan laws.

        63.       Rove Concepts has knowingly made false and misleading representations as to the

source of its goods or services and has knowingly made false representations as to its affiliation

with Plaintiff.

        64.       The aforesaid acts of Rove Concepts constitute unfair, unconscionable, or

deceptive methods, acts, or practices in the conduct of trade or commerce in violation of the

Michigan Consumer Protection Act. MCL § 445.903(1)(a)-(c),(e).

        65.       Rove Concepts' conduct as aforesaid has caused great and irreparable injury to

Plaintiff, and unless such conduct is enjoined, it will continue and Plaintiff will continue to suffer

great and irreparable injury.

        66.       Plaintiff has no adequate remedy at law.

                           COUNT V
     COMMON LAW UNFAIR COMPETITION–TRADEMARK INFRINGEMENT

        67.       Plaintiff realleges and incorporates by reference the preceding paragraphs as

though fully set forth herein.



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       68.     Rove Concepts has used in commerce Plaintiff's trademarks and trade dress

without the authorization or consent of Plaintiff, in connection with the sale and offer for sale of

goods and services similar to those sold by Plaintiff.

       69.     Rove Concepts' use of Plaintiff's trademarks and trade dress is calculated to, likely

to, and does in fact confuse and deceive consumers about the origin of Rove Concepts' goods and

services.

       70.     The foregoing conduct of Rove Concepts constitutes the infringement of

Plaintiff's common law rights in its trademark and trade dress and unfair competition in violation

of the common law of the State of Michigan.

       71.     Rove Concepts' conduct as aforesaid has caused great and irreparable injury to

Plaintiff, and unless such conduct is enjoined, it will continue and Plaintiff will continue to suffer

great and irreparable injury.

       72.     Plaintiff has no adequate remedy at law.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment as follows:

       73.     Preliminarily    and    permanently       enjoining   Rove   Concepts,    its   agents,

representatives, employees, assigns, and suppliers, and all persons acting in concert or privity

with it, from using Plaintiff's trademarks or trade dress, or any other names or marks or trade

dress that is likely to cause confusion, to cause mistake, or to deceive with respect to Plaintiff's

trademarks or trade dress, or from otherwise infringing or diluting Plaintiff's trademarks or trade

dress including selling or offering for sale any products that use, infringe, or dilute Plaintiff's

trademarks or trade dress, or from competing unfairly with Plaintiff;




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        74.     Awarding Plaintiff all damages to and costs incurred by it because of Rove

Concepts' infringing activities and other conduct complained of herein, together with all profits

of Rove Concepts for such activities;

        75.     Awarding Plaintiff treble damages as provided under 15 U.S.C. § 1117;

        76.     Declaring that this is an exceptional case and awarding Plaintiff its reasonable

attorneys' fees and costs as provided by law;

        77.     Awarding Plaintiff pre-judgment and post-judgment interest on the damages

caused by Rove Concepts' infringing activities and other conduct complained of herein; and

        78.     Granting Plaintiff such other and further relief as the Court may deem just and

proper under the circumstances.

                                  DEMAND FOR JURY TRIAL

        Under Rule 38 of the Federal Rules of Civil Procedure, Plaintiff requests a trial by jury of

any issues so triable by right.

                                                Respectfully submitted,

                                                VARNUM LLP
                                                Attorneys for Plaintiff

Date: August 10, 2016                           By: s/Bryan R. Walters
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